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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                  COLUMBUS DIVISION

KATIE HICKS AND KEINO HICKS,                    *

                     Plaintiffs,                *
v.                                                  Case No. 4:22-CV-106-CDL
                                                *
MILLENNIA HOUSING MANAGEMENT
LTD., a/a/f BALLARD WAY APARTMENTS,             *

                  Defendant.                    *
___________________________________

                                     JUDGMENT

       Pursuant to this Court’s Order dated November 23, 2022, and for the reasons stated

therein, JUDGMENT is hereby entered dismissing this case. Plaintiff shall recover nothing of

Defendant.

       This 23rd day of November, 2022.

                                          David W. Bunt, Clerk


                                          s/ Elizabeth S. Long, Deputy Clerk
